    Case 2:19-cv-00066-DBH Document 15 Filed 06/20/19 Page 1 of 6                       PageID #: 33




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

FRANKLIN J. SALCEDO,                            )
                                                )
                Plaintiff                       )
                                                )       2:19-cv-00066-DBH
v.                                              )
                                                )
WILLIAM KING, et al.,                           )
                                                )
                Defendants                      )

                     RECOMMENDED DECISION AFTER REVIEW
                          OF PLAINTIFF’S COMPLAINT

         In this action, Plaintiff alleges that when he was an inmate at the York County Jail,

he was injured during a prisoner transport.              With his complaint, Plaintiff filed an

application to proceed in forma pauperis (ECF No. 3), which application the Court granted.

(ECF No. 4.) In accordance with the in forma pauperis statute, a preliminary review of

Plaintiff’s complaint is appropriate. 28 U.S.C. § 1915(e)(2). Additionally, Plaintiff’s

complaint is subject to screening “before docketing, if feasible or … as soon as practicable

after docketing,” because he is “a prisoner seek[ing] redress from a governmental entity or

officer or employee of a governmental entity.” 28 U.S.C. § 1915A(a).

         Following a review of Plaintiff’s complaint,1 I recommend the Court dismiss

Plaintiff’s privacy claim, but permit Plaintiff to proceed on a claim of deliberate

indifference.




1
 Plaintiff filed a motion to amend the complaint, which motion the Court granted. The references to the
complaint in this recommended decision include reference to the allegations included in the amendment.
Case 2:19-cv-00066-DBH Document 15 Filed 06/20/19 Page 2 of 6                  PageID #: 34




                                  STANDARD OF REVIEW

       The federal in forma pauperis statute, 28 U.S.C. § 1915, is designed to ensure

meaningful access to the federal courts for those persons unable to pay the costs of bringing

an action. When a party is proceeding in forma pauperis, however, “the court shall dismiss

the case at any time if the court determines,” inter alia, that the action is “frivolous or

malicious” or “fails to state a claim on which relief may be granted.” 28 U.S.C. §

1915(e)(2)(B). “Dismissals [under § 1915] are often made sua sponte prior to the issuance

of process, so as to spare prospective defendants the inconvenience and expense of

answering such complaints.” Neitzke v. Williams, 490 U.S. 319, 324 (1989).

       In addition to the review contemplated by § 1915, Plaintiff’s complaint is subject to

screening under the Prison Litigation Reform Act because Plaintiff currently is incarcerated

and seeks redress from governmental entities and officers. See 28 U.S.C. § 1915A(a), (c).

The § 1915A screening requires courts to “identify cognizable claims or dismiss the

complaint, or any portion of the complaint, if the complaint (1) is frivolous, malicious, or

fails to state a claim.” 28 U.S.C. § 1915A(b).

       When considering whether a complaint states a claim for which relief may be

granted, courts must assume the truth of all well-plead facts and give the plaintiff the

benefit of all reasonable inferences therefrom. Ocasio-Hernandez v. Fortuno-Burset, 640

F.3d 1, 12 (1st Cir. 2011). A complaint fails to state a claim upon which relief can be

granted if it does not plead “enough facts to state a claim to relief that is plausible on its

face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).



                                              2
    Case 2:19-cv-00066-DBH Document 15 Filed 06/20/19 Page 3 of 6                          PageID #: 35




         Although a pro se plaintiff’s complaint is subject to “less stringent standards than

formal pleadings drafted by lawyers,” Haines v. Kerner, 404 U.S. 519, 520 (1972), this is

“not to say that pro se plaintiffs are not required to plead basic facts sufficient to state a

claim,” Ferranti v. Moran, 618 F.2d 888, 890 (1st Cir. 1980). To allege a civil action in

federal court, it is not enough for a plaintiff merely to allege that a defendant acted

unlawfully; a plaintiff must affirmatively allege facts that identify the manner by which the

defendant subjected the plaintiff to a harm for which the law affords a remedy. Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009).

                                      FACTUAL BACKGROUND

         Plaintiff alleges that when he and other inmates were transported in a van, evidently

because there were not enough seats in the van for the number of the inmates, Defendants

Dubois and Staples had another inmate sit on Plaintiff’s lap. (Complaint, ECF No. 1.)

Plaintiff asserts he suffered an injury to his neck and back, and that his right to privacy was

violated. Plaintiff asserts Defendants King, Ronco, and Vitiello2 failed to train the

transport officers (Defendants Dubois and Staples) properly. (ECF No. 12.)

                                              DISCUSSION

         Pursuant to the federal civil rights statute:

         Every person who, under color of any statute, ordinance, regulation, custom,
         or usage . . . subjects, or causes to be subjected, any citizen of the United
         States or other person within the jurisdiction thereof to the deprivation of any
         rights, privileges, or immunities secured by the Constitution and laws, shall
         be liable to the party injured in an action at law . . . .


2
  Defendant Michael Viteillo, a jail administrator, was joined as a party through Plaintiff’s motion to amend
the complaint.

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    Case 2:19-cv-00066-DBH Document 15 Filed 06/20/19 Page 4 of 6                          PageID #: 36




42 U.S.C. § 1983.

         Section 1983 “‘is not itself a source of substantive rights,’ but merely provides ‘a

method for vindicating federal rights elsewhere conferred.’” Albright v. Oliver, 510 U.S.

266, 271 (1994) (quoting Baker v. McCollan, 443 U.S. 137, 144 n.3 (1979)). To maintain

a claim under section 1983, a plaintiff must establish: “1) that the conduct complained of

has been committed under color of state law, and 2) that this conduct worked a denial of

rights secured by the Constitution or laws of the United States.” Barreto-Rivera v. Medina-

Vargas, 168 F.3d 42, 45 (1st Cir. 1999).

         Here, Plaintiff contends Defendants Dubois and Staples violated his right to privacy

by requiring that another inmate sit on Plaintiff’s lap during a prisoner transport. Plaintiff

asserts that as a result, he was subjected to “unwanted physical contact.” (ECF No. 5.) As

this Court previously explained:

       Both the United States Supreme Court and the First Circuit Court of Appeals
       have recognized the existence of a constitutional right to privacy. The origins
       of this right to privacy have been attributed to the First, Fifth, Ninth and
       Fourteenth Amendments to the United States Constitution. But the
       constitutional rights of a lawfully incarcerated prisoner are circumscribed or
       limited.

Crosby v. Reynolds, 763 F. Supp. 666, 668-69 (D. Me., May 6, 1991). While an inmate

such as Plaintiff might have a right to privacy as to certain matters (e.g., the disclosure of

personal information),3 research has failed to identify any authority to suggest that a right

to privacy afforded to inmates includes the conduct alleged by Plaintiff.                         Plaintiff,


3
  In Nunes v. Mass. Dept. of Correction, 766 F.3d 136, 143-44 (1st Cir. 2014), the First Circuit
acknowledged that some other circuits have found that prisoners have “at least a limited constitutional right
against gratuitous disclosures of medical information,” but did not have to and thus did not decide whether
prisoners had such a right.

                                                     4
Case 2:19-cv-00066-DBH Document 15 Filed 06/20/19 Page 5 of 6                  PageID #: 37




therefore, has failed to state an actionable claim under 42 U.S.C. § 1983 against Defendants

Dubois and Staples.

       Because Plaintiff has not asserted an actionable claim against Dubois and Staples

based on a violation of his right to privacy, Plaintiff’s claim that Defendants King, Ronco,

and Vitiello failed to train them properly on the right to privacy also fails. Young v. City

of Providence ex rel. Napolitano, 404 F.3d 4, 26 (1st Cir. 2005) (“[s]ince [one of the police

officers] did not use excessive force against [plaintiff], any claim hinged on the City’s

failure to train or discipline [the officer] must fail.”)

       This is Plaintiff’s second attempt to assert a claim based on the transport incident.

The prior matter, Salcedo v. Dubois, et al., No. 2:18-cv-00092-DBH, was dismissed

following a review of Plaintiff’s complaint pursuant to 28 U.S.C. §§ 1915 and 1915A.

After the dismissal of the matter, the inmate who sat on Plaintiff filed an action, which was

captioned, Stewart v. King, et al., 2:18-cv-00231-JAW. In Stewart, the plaintiff asserted

more detailed facts about the incident. In his complaint, the plaintiff specifically identified

Plaintiff as another inmate who was injured in the incident and set forth facts sufficient to

state an actionable claim for deliberate indifference. See Coscia v. Town of Pembroke, 659

F.3d 37, 39 (1st Cir. 2011) (the Due Process Clause imposes on the states the “substantive

obligation” not to treat prisoners in their care in a manner that reflects “deliberate

indifference” toward “a substantial risk of serious harm to health.”).

       In assessing whether a plaintiff has stated an actionable claim, a court may

“supplement [the facts alleged in the complaint] with facts ‘gleaned from documents

incorporated by reference into the complaint, matters of public record, and facts susceptible

                                                5
Case 2:19-cv-00066-DBH Document 15 Filed 06/20/19 Page 6 of 6                   PageID #: 38




to judicial notice.’” Sirois v. United States, 2018 WL 2142980, at *1 (D. Me. May 9, 2018)

(citing Gonzalez v. Velez, 864 F.3d 45, 48 (1st Cir. 2017) (quoting Haley v. City of Boston,

657 F.3d 39, 46 (1st Cir. 2011)).     The Court can take judicial notice of the filings and

proceedings in that matter. Doustout v. G.D. Searle & Co., 684 F. Supp. 16, 17 & n.1 (D.

Me. 1988) (“The Court is entitled to take judicial notice of all related proceedings and

records in cases before the same court.”).        When the facts alleged by Plaintiff are

considered together with the facts alleged in Stewart, Plaintiff has alleged sufficient facts

to state an actionable deliberate indifference claim against Defendants.

                                        CONCLUSION

       Based on the foregoing analysis, pursuant to 28 U.S.C. § 1915(e)(2) and 29 U.S.C.

§ 1915A(a), I recommend the Court dismiss the Plaintiff’s right to privacy claim, but

permit Plaintiff to proceed on a deliberate indifference claim.

                                          NOTICE

              A party may file objections to those specified portions of a magistrate
       judge’s report or proposed findings or recommended decisions entered
       pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
       court is sought, together with a supporting memorandum, within fourteen
       (14) days of being served with a copy thereof. A responsive memorandum
       and any request shall be filed within fourteen (14) days after the filing of the
       objection.

              Failure to file a timely objection shall constitute a waiver of the right
       to de novo review by the district court and to appeal the district court’s order.

                                            /s/ John C. Nivison
                                            U.S. Magistrate Judge

       Dated this 20th day of June, 2019.



                                              6
